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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
JERE GRIM,
Plaintiff,
v. Case No: 8:16-CV-2836-T-27AEP

NATIONSTAR MORTGAGE LLC,

Defendant.
/

ORDER
BEFORE THE COURT is the parties’ Joint Stipulation of Dismissal With Prejudice (Dkt.
16). Upon consideration, this case is DISMISSED with prejudice pursuant to Federal Rule of Civilr
Procedure 4l(a)(1)(A)(ii). The Clerk is directed to CLOSE the file.

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DoNE AND oRl)ERED this 10 day of May, 2017.

     

ES D. WHITTEMORE
nlted States District Judge

Copies to:
Counsel of Record

